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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D) AND LOCAL
CRIMINAL RULE 57.4

In Case Number 2:94cr163-R8S , Case Name United States of America v. Robert Gillins
Party Represented by Applicant: Defendant Robert Gillins

To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

PERSONAL STATEMENT

FULL NAME (no initials, please) Jacquelyne Karie Phelps

Bar Identification Number 54365 State Oklahoma
Firm Name The Decarceration Collective Law Office

Firm Phone # 312-858-8330 Direct Dial # 312-858-8334 FAX # 312-626-4623
E-Mail Address jacki@decarcerationiaw.com
Office Mailing Address PO Box 720183 Oklahoma City, OK 73172

 

Name(s) of federal district court(s) in which I have been admitted Oklahoma Western, Iilinois Northern, Illinois Southern

I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastem District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.

I hereby certify that, within ninety (90) days before the submission of this application, | have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of C riminal Procedure, and the Federal Rules of

Evidence is current.

[am (] am not [iifa full-time employee of the United States of America, and if so, request exemption “ha ee

 
 

I, the undersigned, do certify that | am a member of the bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court: that I have
examined the applicant's personal statement. | affirm that his/her personal and professional character and standing are good, and

petition the court to admit the applicant pro hac vice.

 

 

/s/ Gunjan R. Talati 09/21/2022
(Signatare) (Date)
Gunjan R. Talati 73465
(Typed or Printed Name) (VA Bar Number)

 

Court Use Only:
Clerk's Fee Paid [X] or Exemption Granted [_]

The motion for admission is GRANTED [_] or DENIED [X] Case closed in this court and nothing filed

 

Is/ or pending in this court at this time.
Rebecca Beach Smith
Senior United States District Iud
G-23-AaX

 

 

(Judge's Signature) (Date)
